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 5
     Attorneys for Debtor
 6   Howard Wong

 7

 8

 9                                      UNITED STATES BANKRUPTCY COURT

10                                      NORTHERN DISTRICT OF CALIFORNIA

11                                           SAN FRANCISCO DIVISION

12

13   In re                                    )              Case No. 20-30134 HLB
                                              )
14   HOWARD W.K. WONG                         )              Chapter 7
                                              )
15         Debtor.                            )              AMENDMENT TO DEBTOR’S
                                              )              SCHEDULES A/B AND C
16   ________________________________________ )

17

18            Debtor Howard W.K. Wong files the attached amended Schedules A/B and C. I declare under

19   penalty of perjury that the amended documents are true and accurate.

20

21   Dated: March 6, 2020                                  /s/ Howard W.K. Wong
                                                           Howard Wong
22                                                         Debtor

23
     Amendment Cover Page - 2.wpd
24

25

26

27

28 Case: 20-30134             Doc# 11   Filed: 03/13/20   Entered: 03/13/20 10:34:40   Page 1 of 11
 Fill in this information to identify your case and this filing:

 Debtor 1                 Howard Wai Ho Wong
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number           20-30134                                                                                                                Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1      Make:       Toyota                                                                                     Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      pickup                                   Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
           Year:       1993                                     Debtor 2 only                                    Current value of the      Current value of the
           Approximate mileage:              100,000            Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Other information:                                   At least one of the debtors and another
          Vehicle:
                                                                Check if this is community property                       $1,300.00                    $1,300.00
                                                                     (see instructions)



  3.2      Make:       Volvo                                                                                      Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      PV 544                                   Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
           Year:       1965                                     Debtor 2 only                                    Current value of the      Current value of the
           Approximate mileage:               100000            Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Other information:                                   At least one of the debtors and another
          Vehicle: Not running
                                                                Check if this is community property                          $200.00                     $200.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
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             Case: 20-30134                  Doc# 11             Filed: 03/13/20              Entered: 03/13/20 10:34:40                 Page 2 of 11
 Debtor 1       Howard Wai Ho Wong                                                                                  Case number (if known)      20-30134

 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>              $1,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Household: furniture, household goods                                                                                       $2,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    Electronics: tv, laptop, cell phone and Ipad                                                                                $1,200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Clothes: attire for self                                                                                                      $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
     No
     Yes. Describe.....
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 2
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           Case: 20-30134                    Doc# 11             Filed: 03/13/20               Entered: 03/13/20 10:34:40                        Page 3 of 11
 Debtor 1          Howard Wai Ho Wong                                                                                              Case number (if known)   20-30134

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                 $3,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                      Cash on hand                          $1,000.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.                                              Checking Account: Wells Fargo Bank                                         $1,877.54



                                              17.2.                                              Checking Account: Wells fargo                                                $909.75


                                                                                                 Checking Account: Chase
                                              17.3.       Checking                               #xxxxxx1627                                                                $7,084.00



                                              17.4.       Checking                               Checking Account: chase Acct xxxxx2368                                     $1,076.00


                                                                                                 Savings Account: Inland bank, health saving
                                              17.5.                                              account                                                                    $3,339.26



                                              17.6.                                              Savings Account: HSBC                                                      $1,100.00


                                                          Money market
                                              17.7.       account                                HSBC                                                                       $1,549.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................        Institution or issuer name:


                                                        Financial Account: TD Waterhouse # 870241582                                                                      $12,686.03


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
     No
     Yes. Give specific information about them...................
                                                  Name of entity:                                                                   % of ownership:



Official Form 106A/B                                                                     Schedule A/B: Property                                                                   page 3
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            Case: 20-30134                             Doc# 11                  Filed: 03/13/20                         Entered: 03/13/20 10:34:40           Page 4 of 11
 Debtor 1        Howard Wai Ho Wong                                                                         Case number (if known)      20-30134
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                        Type of account:                  Institution name:

                                        SEP IRA                           Retirement: TD Waterhouse #78159198                                       $369,816.99


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    No
Official Form 106A/B                                                 Schedule A/B: Property                                                                   page 4
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           Case: 20-30134                    Doc# 11             Filed: 03/13/20         Entered: 03/13/20 10:34:40                      Page 5 of 11
 Debtor 1        Howard Wai Ho Wong                                                                                              Case number (if known)        20-30134

     Yes.      Give specific information..

                                                          Payments due under note for sale of business. Buyer
                                                          contests liability and this is the subject of pending litigation.                                                   $75,000.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             Insurance: Auto insurance                                                                                                                $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.      Describe each claim.........

                                                          Complaint against business brokers arising out of sale of
                                                          Debtor's previous business.                                                                                           Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $475,438.57


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
     Yes. Describe.....

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
     No
     Yes. Describe.....

Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 5
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           Case: 20-30134                        Doc# 11               Filed: 03/13/20                   Entered: 03/13/20 10:34:40                             Page 6 of 11
 Debtor 1        Howard Wai Ho Wong                                                                                              Case number (if known)        20-30134

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
     Yes.      Describe.....


                                        Camera equipment - all purchased used and value is estimated
                                        Sony Alpha 6000 and 16-50 lens
                                        Lenses: EFS 18-55mm, EFS SS - 250mm, EFS 40mm
                                        Canon C100 video camera
                                        Vdeo tripod
                                        Video microphone and headphone
                                        EOS 1 film camera body
                                        Steadie Cam video camera rig
                                        Ninja blade vido recorder                                                                                                              $1,950.00


41. Inventory
     No
     Yes. Describe.....

42. Interests in partnerships or joint ventures
     No
     Yes. Give specific information about them...................
                                             Name of entity:                                                                       % of ownership:


43. Customer lists, mailing lists, or other compilations
    No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

               No
               Yes. Describe.....

44. Any business-related property you did not already list
     No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................              $1,950.00

 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.



 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00



Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 6
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           Case: 20-30134                        Doc# 11               Filed: 03/13/20                   Entered: 03/13/20 10:34:40                             Page 7 of 11
 Debtor 1         Howard Wai Ho Wong                                                                                                    Case number (if known)   20-30134

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                          $0.00
 56. Part 2: Total vehicles, line 5                                                                           $1,500.00
 57. Part 3: Total personal and household items, line 15                                                      $3,500.00
 58. Part 4: Total financial assets, line 36                                                                $475,438.57
 59. Part 5: Total business-related property, line 45                                                         $1,950.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $482,388.57               Copy personal property total            $482,388.57

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $482,388.57




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 7
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            Case: 20-30134                         Doc# 11                Filed: 03/13/20                     Entered: 03/13/20 10:34:40                          Page 8 of 11
 Fill in this information to identify your case:

 Debtor 1                Howard Wai Ho Wong
                         First Name                         Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                    Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number           20-30134
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      1993 Toyota pickup 100,000 miles                                                                                           C.C.P. § 703.140(b)(2)
      Vehicle:
                                                                      $1,300.00                                   $1,300.00
      Line from Schedule A/B: 3.1                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

      1965 Volvo PV 544 100000 miles                                                                                             C.C.P. § 703.140(b)(2)
      Vehicle: Not running
                                                                          $200.00                                   $200.00
      Line from Schedule A/B: 3.2                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

      Household: furniture, household                                                                                            C.C.P. § 703.140(b)(3)
      goods
                                                                      $2,000.00                                   $2,000.00
      Line from Schedule A/B: 6.1                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

      Electronics: tv, laptop, cell phone                                                                                        C.C.P. § 703.140(b)(3)
      and Ipad
                                                                      $1,200.00                                   $1,200.00
      Line from Schedule A/B: 7.1                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

      Clothes: attire for self                                                                                                   C.C.P. § 703.140(b)(3)
      Line from Schedule A/B: 11.1
                                                                          $300.00                                   $300.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 3
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              Case: 20-30134                 Doc# 11             Filed: 03/13/20             Entered: 03/13/20 10:34:40                   Page 9 of 11
 Debtor 1    Howard Wai Ho Wong                                                                          Case number (if known)     20-30134
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Cash on hand                                                                                                                 C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 16.1
                                                                       $1,000.00                                $1,000.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking Account: Wells Fargo Bank                                                                                           C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.1
                                                                       $1,877.54                                $1,877.54
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking Account: Wells fargo                                                                                                C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.2
                                                                         $909.75                                  $909.75
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Checking Account: Chase                                                                                            C.C.P. § 703.140(b)(5)
     #xxxxxx1627
                                                                       $7,084.00                                $7,084.00
     Line from Schedule A/B: 17.3                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Checking Account: chase                                                                                            C.C.P. § 703.140(b)(5)
     Acct xxxxx2368
                                                                       $1,076.00                                $1,076.00
     Line from Schedule A/B: 17.4                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings Account: Inland bank, health                                                                                         C.C.P. § 703.140(b)(5)
     saving account
                                                                       $3,339.26                                $3,339.26
     Line from Schedule A/B: 17.5                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings Account: HSBC                                                                                                        C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.6
                                                                       $1,100.00                                $1,100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Money market account: HSBC                                                                                                   C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.7
                                                                       $1,549.00                                $1,549.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Financial Account: TD Waterhouse #                                                                                           C.C.P. § 703.140(b)(5)
     870241582
                                                                      $12,686.03                              $12,686.00
     Line from Schedule A/B: 18.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     SEP IRA: Retirement: TD Waterhouse                                                                                           C.C.P. § 703.140(b)(10)(E)
     #78159198
                                                                     $369,816.99                             $369,816.99
     Line from Schedule A/B: 21.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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            Case: 20-30134                     Doc# 11               Filed: 03/13/20 Entered: 03/13/20 10:34:40                             Page 10 of
                                                                                   11
 Debtor 1    Howard Wai Ho Wong                                                                          Case number (if known)     20-30134
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Camera equipment - all purchased                                                                                             C.C.P. § 703.140(b)(6)
     used and value is estimated
                                                                       $1,950.00                                $1,950.00
     Sony Alpha 6000 and 16-50 lens                                                    100% of fair market value, up to
     Lenses: EFS 18-55mm, EFS SS -                                                         any applicable statutory limit
     250mm, EFS 40mm
     Canon C100 video camera
     Vdeo tripod
     Video microphone and headphone
     EOS 1 film camera body
     Steadie Cam video cam
     Line from Schedule A/B: 40.1


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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            Case: 20-30134                     Doc# 11               Filed: 03/13/20 Entered: 03/13/20 10:34:40                             Page 11 of
                                                                                   11
